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AO 91 (Rev. 11/11) Criminul Cornplainl


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of Columbia

                  United States of America                           )
                             V.                                      )
                                                                     )      Case No.
              DEREK COOPER GUNBY
                                                                     )
                  DOB: XXXXXX                                        )
                                                                     )
                                                                     )
                           Defe11da111(1)


                                                  CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of    _                              in the
                          in the District of       Columbia      , the defendant(s) violated:

             Code Section                                                      O.U'e11se Descriplio11
        18 U.S.C. § 1752(a)(1)- Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        40 U.S.C. § 5 l 04(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.


          This criminal complaint is based on these facts:
   See attached statement of facts.




          ® Continued on the attached sheet.




                                                                                          John Dyas, Task Force Officer
                                                                                                Primed 1w111e and 1i1/e
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.                                                                                               Digitally signed
                                                                                                            by G. Michael
Date:             06/29/202 J                                                                               Harvey
                                                                                                  Judge's signature

City and state:                          Washington, D.C.                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                                Primed name and tirle
